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            UNITED STATES COURT OF APPEALS
                 FOR THE THIRD CIRCUIT

                           No. 23-2419

            NEW JERSEY STAFFING ALLIANCE et al.,
                             Plaintiffs-Appellants,

                                v.

                        CARI FAIS et al.,
                               Defendants-Appellees


 ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
     THE DISTRICT OF NEW JERSEY (No. 23-cv-2494 (CPO))


        Opposition to Motion for Injunction Pending Appeal


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                                 INTRODUCTION

      Recognizing that temporary laborers can be particularly vulnerable to abusive

labor practices, the New Jersey Legislature enacted the Temporary Workers Bill of

Rights (TWBR) to protect them. The law achieves its goal of reducing labor abuses

by, inter alia, requiring disclosure of basic job information, ensuring transportation

safety, preventing wage diversion, prohibiting retaliation, mandating recordkeeping,

and requiring fair wages. Although Appellants—trade associations representing

temporary staffing agencies (temp agencies) and their third-party employer clients—

brought a potpourri of constitutional challenges to this law, the district court rightly

denied a preliminary injunction. And while Appellants repeat their same arguments

in their motion for an injunction pending appeal, this Court should reject them too.

      As an initial matter, Appellants’ demand is extraordinary: they are seeking an

emergency injunction pending appeal that would invalidate the TWBR’s protections

after they have already gone into effect and after workers have already begun relying

on them. That is, although Appellants admit that stays pending appeal are typically

appropriate when “needed to preserve the status quo,” Mot.13, Appellants now seek

to undo it. The TWBR was signed into law by the Governor in February and became

fully effective on August 5, 2023. Inexplicably, Appellants waited three months after

the legislation became law to file suit, and nearly four weeks after the law’s

challenged provisions took effect to file this motion. That delay in seeking

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emergency relief is fatal both because it squarely contradicts Appellants’ alleged

urgency, and because their motion would interfere with important protections on

which temporary workers have already begun relying. That is why requesting a

mandatory injunction to undo the status quo must meet an even higher standard: an

“indisputably clear” right to relief. Hope v. Warden York Cty. Prison, 972 F.3d 310,

320 (3d Cir. 2020).

      As the district court correctly pointed out, however, Appellants cannot even

satisfy the lower burden of a likelihood of success on the merits. Appellants’ first

argument—that the TWBR is inconsistent with the Dormant Commerce Clause—is

a nonstarter, especially after National Pork Producers Council v. Ross, 598 U.S. 346

(2023) (NPPC). Appellants’ primary complaint is that the law governs New Jersey-

based temporary workers who may be placed at out-of-state locations. But NPPC is

clear that mere extraterritorial effects on interstate commerce alone are insufficient

to show a violation of the Dormant Commerce Clause. And the TWBR bears none

of the hallmarks of economic protectionism that are the doctrine’s heartland.

Nowhere do Appellants explain how the TWBR—which applies both to in-state and

out-of-state businesses that employ New Jersey temporary workers—discriminates

against out-of-state commerce, or build a record of burdens to interstate commerce.

That omission is fatal.




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      Appellants’ second theory—that the TWBR’s fair-pay provision is “void for

vagueness” under the Due Process Clause—also lacks merit. As a civil economic

measure, the TWBR’s requirement to pay temporary workers equally is only invalid

if its provisions are so unclear as to amount to “no rule or standard at all”—a

stringent test that Appellants make no effort to satisfy. FTC v. Wyndham Worldwide

Corp., 799 F.3d 236 (3d Cir. 2015). And the TWBR’s language easily clears that

bar: it requires temporary workers be paid no “less than the average rate of pay and

average cost of benefits, or the cash equivalent thereof, of employees of the third

party client performing the same or substantially similar work.” N.J. Stat. Ann. §

34:8D-7(b). This specific, discrete, and comprehensible mandate relies on language

found in other federal and New Jersey labor and employment-discrimination laws,

and is no more difficult to interpret than other laws this Court has upheld against

vagueness challenges. Indeed, as the district court recognized, Appellants—

sophisticated economic actors—have the expertise to comply, especially given the

proposed regulations (offering even more detailed guidance) from the very agency

charged with enforcing the statute.

      Appellants no doubt disagree strongly with the TWBR. But that is the purview

of policy dispute. Appellants remain free to take their complaints to the Legislature,

and to submit comments during the ongoing rulemaking process. But Appellants




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have not met the extraordinarily high bar to justify invalidating the statute on

constitutional grounds, let alone on this emergency posture.

              FACTUAL AND PROCEDURAL BACKGROUND

A.    The Temporary Worker Bill of Rights.
      In enacting the TWBR, the New Jersey Legislature endeavored to provide

important protections to a subset of workers who “are particularly vulnerable to

abuse”: temporary laborers. N.J. Stat. Ann. § 34:8D-1(c), (d). Those abuses include

“unpaid wages, failure to pay for all hours worked, minimum wage and overtime

violations, unsafe working conditions, unlawful deductions from pay for meals,

transportation, equipment, and other items, as well as discriminatory practices.” N.J.

Stat. Ann. § 34:8D-1(c). As a result, the Legislature enacted the TWBR and tasked

the New Jersey Department of Labor and Workforce Development (NJDOL) and

the Division of Consumer Affairs (DCA) with its implementation.

      The bill focuses on the temporary workers most vulnerable to these abusive

practices. While a prior version of the TWBR would have applied to all temporary

laborers, Governor Phil Murphy conditionally vetoed that bill in September 2022,

recommending that the Legislature tailor the bill to “those positions in the workforce

at greatest risk of exploitation” so as to “ease the compliance burdens placed on the

temporary help service industry, while ensuring that laborers in certain occupations

subject to more extreme hardships receive due protection and consideration in


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enforcement.” Conditional Veto Stmt., A1474 (First Reprint), at 3 (Sept. 22, 2022);

see generally https://www.njleg.state.nj.us/bill-search/2022/A1474 (bill history).

The Legislature concurred, and the resulting bill became law on February 6, 2023.

See P.L. 2023 ch. 10 (codified as N.J. Stat. Ann. § 34:8D-1 to -13). The TWBR thus

applies only to temporary workers in particular sectors (“designated classification

placements”). See N.J. Stat. Ann. § 34:8D-2 (listing sectors).

      To protect those workers, the Legislature enacted specific statutory rights and

protections for them. As relevant here, the Legislature enacted fair-pay provisions.

Finding that temporary laborers earn substantially less than their similarly situated

counterparts in other employment arrangements, N.J. Stat. Ann. § 34:8D-1(b), the

Legislature required that a covered laborer “shall not be paid less than the average

rate of pay and average cost of benefits, or the cash equivalent thereof, of employees

of the third party client performing the same or substantially similar work,” N.J. Stat.

Ann. § 34:8D-7(b). Additionally, agencies may not “restrict the right of a [covered

laborer] ... to accept a permanent position” nor “restrict the right of a third party

client to offer employment to a temporary laborer.” N.J. Stat. Ann. § 34:8D-7(a).

      The law enshrines other protections, too. Having found temporary laborers are

often subject to unsafe conditions and unlawful deductions for their transportation

expenses, N.J. Stat. Ann. § 34:8D-1(c), the Legislature prohibited temp agencies and

their clients from charging covered laborers for transportation to or from a worksite,

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and instituted a variety of transit-related measures to promote temporary laborers’

safety. N.J. Stat. Ann. § 34:8D-5. Separately, the Legislature also enhanced temp

agencies’ recordkeeping obligations, including those associated with any wage

deductions and the costs of equipment and meals charged to a covered laborer, see

N.J. Stat. Ann. § 34:8D-4, and required agencies to provide workers with “a detailed

itemized statement on the temporary laborer’s paycheck stub,” including their hours

worked, rate of pay, and all deductions, N.J. Stat. Ann. § 34:8D-6(a). The TWBR

added certification requirements for temp agencies. N.J. Stat. Ann. § 34:8D-8(a),

(g), (h). And it contains redress provisions: the law permits aggrieved persons, and

temp agencies aggrieved by violations committed by any third-party clients, to bring

actions in New Jersey Superior Court. N.J. Stat. Ann. § 34:8D-11(a).

      The statutes’ substantive protections have since taken effect. Sections of the

law not at issue in this lawsuit—mandating certain forms of disclosure to temporary

laborers and prohibiting retaliation for the exercise of statutory rights—took effect

on May 7. The remainder of the law, including the provisions challenged here, took

effect on August 5. Moreover, NJDOL has already initiated the rulemaking process

to provide even more guidance to workers and industry alike regarding the scope of

the law: on July 21, NJDOL posted on its website a Notice of Proposed Rulemaking

to implement the TWBR. See ECF 32. The Notice provides stakeholders with greater

clarity about NJDOL’s proposed interpretation of the TWBR’s requirements as well

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as an opportunity to prepare comments for the agency’s consideration. See 55 N.J.R.

1804(a) (formal publication August 21, initiating 60-day comment period).

B.    The Instant Litigation.
      On May 5, 2023, the New Jersey Staffing Alliance, New Jersey Business and

Industry Association, and American Staffing Association—three organizations that

represent various staffing firms and businesses—brought a facial challenge to the

TWBR and sought preliminary injunctive relief. Appellants brought claims under

the Dormant Commerce Clause, Equal Protection Clause, Privileges and Immunities

Clause, and Due Process Clause (asserting both void-for-vagueness and violation of

police powers theories). See ECF 1; 1-2. The district court ordered briefing—during

which Appellants provided supplemental affidavits—and oral argument.

      On July 26, the district court denied the motion for a preliminary injunction,

deciding that none of Appellants’ claims were likely to succeed on the merits. ECF

34 (“Op.”). The Court decisively rejected Appellants’ numerous policy objections

to the TWBR, noting that “[i]t is not for this Court to determine whether the policies

served by the Act are worthy of pursuit, or whether it is wise to impose the likely

burdens to follow upon New Jersey businesses like Plaintiffs’ members ... These

were questions for the Legislature and are now for regulators.” Op.25 (emphasis

removed).




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       On August 11, sixteen days after the district court’s denial of emergency relief

and six days after the TWBR wholly took effect, Appellants moved in the district

court for an injunction pending appeal as to the fair-pay provision. ECF 39-1. The

district court denied the motion the next business day, August 14, noting that “not

only did [Section 7] already go into effect ... six days prior ... but Plaintiffs reiterate

the same arguments the Court [already] considered” and rejected. ECF 40 at 2.

       Almost three weeks later, on September 1, Appellants’ motion followed.

                                     ARGUMENT

       This Court should deny Appellants’ motion seeking an emergency injunction

pending appeal1—filed nearly four weeks after the TWBR took full effect. Because

Appellants motion seeks “a mandatory preliminary injunction that will alter the

status quo,” they “bear[] a particularly heavy burden in demonstrating its necessity.”

Acierno v. New Castle Cty., 40 F.3d 645 (3d Cir. 1994); see Punnett v. Carter, 621

F.2d 578 (3d Cir. 1980) (“[W]hen the preliminary injunction is directed not merely

at preserving the status quo but, as in this case, at providing mandatory relief, the

burden on the moving party is particularly heavy.”). Appellants must establish “a

substantial likelihood of success on the merits” and an “indisputably clear” right to



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 While Appellants state that they are “most concerned” about the fair-pay provision,
Mot. 3, they apparently seek an injunction of the TWBR in its entirety, see id. at 2,
20, including parts of the statute that took effect in May, see Op.6. But their motion
does not address any provision other than the fair-pay section.
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relief. Hope, 972 F.3d at 320. And Appellants must also show that the equitable

factors—irreparable harm, the balance of the equities, and the public interest—favor

them. See Amalgamated Transit Union Local 85 v. Port. Auth. of Allegheny Cnty,

39 F.4th 95, 103 (3d Cir. 2022). But as the district court correctly concluded,

Appellants come up short: both the Dormant Commerce Clause and vagueness

claims lack merit, and the equities likewise compel denying their motion—

especially since it would disrupt the status quo.

I.       APPELLANTS LACK ANY RIGHT TO RELIEF ON THE MERITS.

         Appellants’ Dormant Commerce Clause and vagueness claims are unlikely to

succeed on appeal, let alone in an “indisputably clear” fashion.2

         A.    The TWBR Does Not Violate The Dormant Commerce Clause.
         This Court can make short work of Appellants’ Dormant Commerce Clause

claim—especially on this emergency posture—because it is flatly inconsistent with

the Supreme Court’s recent decision in National Pork Producers Council v. Ross. In

NPPC, the Court confirmed that rooting out “antidiscrimination”—that is, state laws

“seek[ing] to advantage in-state firms or disadvantage out-of-state rivals”—lies “at

the core” of the Dormant Commerce Clause. 598 U.S. at 370-71. But at the district

court correctly pointed out, the TWBR “does not discriminate” between in-state and

out-of-state commerce. Op.18 n.13. Appellants’ claim is thus a nonstarter.


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    Appellants do not press their other claims at this juncture.
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      The exact contours of Appellants’ theory are not entirely clear. It appears that

Appellants continue to press a straightforward “extraterritorial effects theory”—i.e.,

that the law is unconstitutional because it imposes compliance burdens on out-of-

state clients that transact with covered New Jersey temp agencies. See Mot.15

(basing claim on fact that out-of-state clients are “subject to ... the [TWBR]”). But

that theory fails because NPPC expressly rejected it. See 598 U.S. at 376 (rejecting

notion that “the ability of a State to project its power extraterritorially must yield” to

Dormant Commerce Clause); see also Op.18 n.13 (same).

      Appellants’ effort to evade NPPC by characterizing the TWBR as an

impermissible price-fixing statute is also unavailing. The cases Appellants cite—

Healy v. Beer Institute, 491 U.S. 324 (1989), Brown-Forman Distillers Corp. v. New

York State Liquor Authority, 476 U.S. 573 (1986), and Baldwin v. G. A. F. Seelig,

Inc., 294 U.S. 511 (1935)—each reflects that the Commerce Clause’s concern is

with precisely the sort of economic protectionism and burdens on interstate

commerce that are missing here. See NPPC, 598 U.S. at 371 (noting these precedents

“typif[y] the familiar concern with preventing purposeful discrimination against out-

of-state economic interests”). Indeed, those decisions all dealt with state laws that

“operated like ‘a tariff or customs duty’” on out-of-state products (Baldwin) or

barred out-of-state businesses from undercutting their in-state counterparts’ prices




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or “enjoy[ing]” “cost advantages ... against their in-state rivals” (Healy and Brown-

Forman). Id. at 372 (citation omitted).

      The TWBR looks “nothing like those” “brazenly protectionist” laws. Op.19.

The law evenhandedly burdens both in-state and out-of-state clients of covered New

Jersey temp agencies and does not substantially burden the interstate market for

temporary laborers. By way of illustration, a “Pennsylvania staffing agency seeking

to place temporary workers at a Philadelphia business, for example, needs only to

abide by Pennsylvania law, whereas a New Jersey agency seeking to do the same

must abide by the [TWBR], meaning the Pennsylvania agency can likely offer lower

labor costs and fewer regulatory requirements than their New Jersey competitor.”

Op.20. Said another way, “[t]here is simply nothing discriminatory” or

“protectionist” “about the [TWBR]”: it does not seek to privilege any New Jersey

workers or companies over their out-of-state competitors, or burden those out-of-

state workers or companies either. Id. Nor does the law force out-of-state players to

surrender whatever cost advantages they might enjoy when availing themselves of

the New Jersey market. If a Pennsylvania client hires a New Jersey temporary

laborer through a New Jersey temp agency and is thus subject to the TWBR, it can

still leverage any cost advantages relative to its New Jersey competitors. Compliance

burdens that fall equally on New Jersey businesses do not constitute protectionism.




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      And while Appellants complain that the Dormant Commerce Clause cannot

be limited exclusively to cases of protectionism, they do not appear to advance any

argument under Pike v. Bruce Church, Inc., 397 U.S. 137 (1970), or to explain how

they meet Pike’s high standard. As two concurring Justices explained in NPPC, there

may still be room to argue that a facially nondiscriminatory state law is invalid

because it imposes a “substantial burden on interstate commerce” that greatly

outweighs the State’s interests. NPPC, 598 U.S. at 391 (Sotomayor, J., concurring).

But that scenario requires the challenger to build a record establishing that the law

imposes a “substantial burden on interstate commerce” that far exceeds the benefits

of the law. See id. (agreeing purpose of such analysis is to “detect the presence or

absence of latent economic protectionism,” and noting that challengers bear the

evidentiary burden); id. at 378 (majority op.) (noting Pike aims at “smoking out a

hidden protectionism” (cleaned up)). Appellants did not do so here, and even if they

had, a Pike-based claim would fail for all the reasons identified by the district court.

See Op.20-21.

      B.     The TWBR Is Not Void For Vagueness.

      Section 7(b)’s fair-pay standard, which states that a covered laborer “shall not

be paid less than the average rate of pay and average cost of benefits, or the cash

equivalent thereof, of employees of the third party client performing the same or

substantially similar work,” N.J. Stat. Ann. § 34:8D-7(b), is not void for vagueness.


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The TWBR’s plain text provides more-than-sufficient notice to all regulated entities,

and NJDOL’s proposed regulations only provide further guidance.

      As the district court correctly acknowledged, Appellants bear an extraordinary

burden to obtain relief against a civil economic statute on vagueness grounds. A law

is vague under the Due Process Clause only if it “fails to provide a person of ordinary

intelligence fair notice of what is prohibited, or is so standardless that it authorizes

or encourages seriously discriminatory enforcement.” United States v. Williams, 553

U.S. 285 (2008). Appellants acknowledge this, but fail to address the fact that the

already-limited vagueness doctrine is “especially lax” for economic legislation.

Wyndham Worldwide, 799 F.3d at 250. To be held unconstitutionally vague, such a

law must be “so vague as to be no rule or standard at all.” Id.; see Coates v. City of

Cincinnati, 402 U.S. 611 (1971) (to survive vagueness challenge, economic

legislation need only be “comprehensible”). This means mere questions of statutory

interpretation, arising from “ambiguities” on the margins, are never enough to justify

invalidating a statute. CMR D.N. Corp. v. City of Phila., 703 F.3d 612, 631 (3d Cir.

2013). Were it otherwise, a mere “dispute[]” about textual “meaning” would render

many statutes unconstitutionally vague. Grayned v. City of Rockford, 408 U.S. 104

(1972). That has never been enough.

      This Court has repeatedly rejected vagueness challenges to civil laws that—

while open to statutory interpretation at the margins—were not “so vague as to be

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no rule or standard at all.” For example, in Wyndham Worldwide, this Court upheld

a federal law that generally prohibited “unfair or deceptive acts or practices.” 799

F.3d at 240; see id. at 255-56. As this Court explained, that prohibition was “far from

precise,” and would surely generate “borderline cases where it is unclear if a

particular company's conduct falls below the requisite legal threshold.” Id. at 255-

56. But it was nevertheless lawful, because its “standard informs parties” of the

“relevant factors” to be taken into account. Id. at 255; see also id. at 256 (“[U]nder

a due process analysis a company is not entitled to such precision as would eliminate

all close calls”). Nor is this example unusual. See, e.g., CMR, 703 F.3d at 631-32

(upholding local zoning ordinance that required all “development [be] appropriate

in scale, density, character and use,” and citing cases upholding similarly ambiguous

zoning ordinances); Moreno v. Att’y Gen., 887 F.3d 160, 166 (3d Cir. 2018)

(upholding law imposing consequences for any “crime involving moral turpitude”);

Sypniewski v. Warren Hills Reg’l Bd. of Educ., 307 F.3d 243 (3d Cir. 2002)

(upholding school’s prohibition on “racially divisive” material); Moreno v. Att’y

Gen., 887 F.3d 160 (3d Cir. 2018) (upholding law imposing consequences for any

“crime involving moral turpitude”); San Filippo v. Bongiovanni, 961 F.2d 1125, (3d

Cir. 1992) (tenured professors must maintain “sound scholarship and competent

teaching”).




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      Particularly given this lax standard, whether the TWBR’s fair-pay provision

is unlawfully vague is not a close question. See Op.23-24 (district court confirming

Section 7(b) of the TWBR “is not facially vague”). The challenged text is simple: it

requires that a temporary laborer in a designated classification placement performing

“the same or substantially similar work” as permanent employees “under similar

working conditions” be paid at least “the average rate of pay and average cost of

benefits, or the cash equivalent” of their comparators. N.J. Stat. Ann. § 34:8D-7(b).

And the TWBR further narrows the definition of comparators to those who perform

substantially similar work “on jobs the performance of which requires equal skill,

effort, and responsibility.” Id. These terms are plainly comprehensible—particularly

for Appellants, who are “sophisticated commercial actors” whose members “engage

in th[e] sort of” analysis required under the statute “all the time.” Op.23.

      Appellants’ responses fail to meet their burden, especially because the TWBR

relies on terms long familiar to employment law. While Appellants spill considerable

ink complaining that they do not know which workers or jobs are comparable, see

Mot.18, comparator analysis is a common feature of employment and

antidiscrimination law. Like the TWBR, the federal Equal Pay Act (EPA)—to take

one example—prohibits discrimination in pay between those who perform “equal

work on jobs the performance of which requires equal skill, effort, and

responsibility, and which are performed under similar working conditions.” 29

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U.S.C. § 206(d)(1) (enacted 1963). State law also prohibits discrimination between

those who perform “substantially similar work, when viewed as a composite of skill,

effort and responsibility.” N.J. Stat. Ann. § 10:5-12(t). Appellants have not cited a

single case suggesting that these statutes are vague, see E.E.O.C. v. McCarthy, 768

F.2d 1, 3 (1st Cir. 1985) (rejecting vagueness challenge and describing federal EPA

as “constitutionally clear”), itself a strong indication that the TWBR’s fair-pay

provision is not, either.

      The experience with federal and state discrimination and equal pay provisions

likewise resolves Appellants’ alleged concern that the comparator analysis will turn

on “infinite” and unknowable factors. Mot.16. After all, “[a] word is not vague when

it has a ‘settled legal meaning.’” U.S. Sec. & Exch. Comm’n v. Hui Feng, 935 F.3d

721, 734 n.8 (9th Cir. 2019) (quoting United States v. Williams, 553 U.S. 285, 306

(2008)). And an extensive body of case law, regulations, and guidance interpreting

these laws shed light on how to conduct the comparator analysis required by the

TWBR. See, e.g., 29 C.F.R. § 1620.13(e) (noting that the comparator analysis is fact-

sensitive, not limited to job descriptions); id. § 1620.11 (prohibiting discrimination

in provision of “fringe benefits” and listing examples); id. §§ 1620.15 to 1620.18

(offering guidance for scope and meaning of “skill,” “effort,” “responsibility,” and

“similar working conditions,” including date and time); see Steele v. Pelmor Labs.

Inc., 642 Fed. App’x 129, 136 (3d Cir. 2016) (addressing EPA standard); Brobst v.

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Columbus Servs. Int’l, 761 F.2d 148, 156 (3d Cir. 1985) (same); N.J. Division on

Civil Rights, Guidance on the Diane B. Allen Equal Pay Act (Mar. 2020), at 6-8,

https://tinyurl.com/ye27t8w8 (indicating agency’s interpretation of N.J. Stat. Ann. §

10:5-12(t) largely tracks interpretations of comparable language in federal law). So

while the specific “application” of these protections “to temporary workers is novel,”

this kind of comparator analysis is one already “know[n].” Op.23-24.

      Appellants’ complaints about the word “benefits,” see Mot.17, is illustrative.

Appellants do not contend that the word itself is incomprehensive or lacks meaning,

but complain about specific applications—that is, that they are unsure whether/how

to account for government-subsidized health insurance, “[v]esting schedules, profit

plans,” and other variations in employer-provided benefits. Mot.17. But for one, this

is precisely the sort of specific and discrete alleged ambiguity that can never support

facial invalidation on vagueness grounds. See, e.g., Wyndham Worldwide, 799 F.3d

at 255. And in any event, here too Appellants ignore the other available interpretive

tools to answer their questions. After all, “benefits” is not an unusual statutory term;

their members must already comply with statutory mandates that require identifying

employer-provided “benefits.” See Op.23. Notably, N.J. Stat. Ann. § 10:5-12(t)—

part of the Diane B. Allen Equal Pay Act, to which Appellants’ members are already

subject—bars discrimination in “compensation, including benefits.” Other laws

establish recordkeeping requirements related to the provision of “benefits.” See, e.g.,

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N.J. Stat. Ann. § 34:11-56.61 (Prevailing Wage Act); N.J. Admin. Code §§ 12:66-

2.1, -2.4 (NJDOL regulations). A business subject to the TWBR could surely look

to these laws, among others, for guidance on how to interpret “benefits” in the

context of Section 7(b). That is a far cry from justifying facial invalidation.

      Appellants’ argument runs into three other problems. First, as the district court

explained in detail, Appellants have an especially weak showing that these statutory

terms are incomprehensible to them. Indeed, Appellants are a group of

“sophisticated commercial actors” whose members “engage in th[e] sort of” analysis

required under the statute “all the time.” Op.23. And their own motion for an

injunction pending appeal confirms as much: by “raising” several detail-oriented

“questions” about how to comply with Section 7—and asking “whether certain

factors” must “be considered” in specific situations or contexts—Appellants “tacitly

admit[ed] that they know exactly the sort of” factors on which the analysis likely

turns. Id. To pass constitutional muster, that is enough: the TWBR need not

“explicitly” instruct a regulated entity how to apply its multifactor analysis, and

increasing compliance burdens alone does not make the law impermissibly vague.

Op.23-24.

      Second, though the TWBR’s statutory text is more-than-sufficiently clear on

its face, NJDOL’s proposed regulations provide additional guidance that only further

weakens Appellants’ claim. As noted, the Notice issued by NJDOL proposes step-

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by-step instructions for how to calculate the cash equivalent of benefits, beginning

with identifying “the annual cost to the employer,” 55 N.J.R. 1804(a), § 12:72-7.2,

and identifies twelve “principles,” or factors, relevant to the comparator analysis,

id., § 12:72-7.3. This proposal provides public notice of the enforcing agency’s

approach to the statute—on which the regulated community will have ample

opportunity to offer public comment, and which NJDOL will have to consider under

state law. See Op.25 (“[N]ow is [Appellants’] chance to get the answers they need.”).

Moreover, pending final rulemaking, NJDOL committed that it will not “enforce

Section 7 in a ... manner” contrary to the interpretation adopted in the Notice, and

will take good-faith efforts to comply with Section 7 into account in any enforcement

action. ECF 32. That eliminates any specter of concern about arbitrary enforcement.3

      Finally, to the extent that Appellants quibble with whether third-party clients

opting to contract with a covered temp agency will “voluntarily” share with the temp

agency the information necessary to comply with the fair-pay provision, Mot.6, they

raise policy objections rather than due process concerns. See Trojan Techs., Inc. v.


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   Appellants simply misread the Notice—and the law itself—in claiming
inconsistency between Sections 12:72-7.3(a)(7) and (a)(10). See Mot.18-19. Section
7(b) of the TWBR provides the “substantially similar work” analysis turns on the
“jobs” involved, and the skill, effort, and responsibility required for “performance”
of those jobs. In other words, the focus of the provision is on the job, not the person
performing it. The Notice simply clarifies that distinction. Section 12:72-7.3(a)(10)
explains that the “years of service (i.e., seniority) of a particular employee is not
relevant” to the assessment of “experience ... required to perform a job,” which is a
factor under subsection (a)(7). There is no vagueness here.
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Com. of Pa., 916 F.2d 903, 915 (3d Cir. 1990) (demanding compliance burden does

not amount to vagueness). That is especially true now: Appellants ignore that under

the Notice, clients “shall provide to the temporary help service firm a listing of the

hourly rate of pay and cost per hour of benefits for each employee of the third-party

client who the third-party client determines would be a comparator employee.” See

55 N.J.R. 1804(a), § 12:72-7.2(a). Here too, Appellants fail to justify their effort to

invalidate this fair-pay provision on vagueness grounds.

II.   THE EQUITIES LIKEWISE SUPPORT DENYING RELIEF.

      Because Appellants have not demonstrated a substantial likelihood of success

on the merits—a “prerequisite” for a preliminary injunction—the Court’s inquiry

can stop there. Holland v. Rosen, 895 F.3d 272, 286 (3d Cir. 2018) (noting that when

the merits factor is not met, courts “do not delve deeply into” the other factors). But

in any event, the remaining equitable factors also cut against an injunction.

      Initially, there is no need for this Court to grant relief on an expedited posture

with truncated briefing. Emergency injunctive relief proceeds “under the theory that

there is an urgent need for speedy action to protect the plaintiffs’ rights” or preserve

the status quo before a new law takes effect. Lanin v. Borough of Tenafly, 515 F.

App’x 114, 117-18 (3d Cir. 2013). But while Appellants repeatedly assert that there

is urgency for this Court to act, see Mot.1-2, 9-11, 19-20, their litigation conduct is

to the contrary. Even though their requests for an injunction pending appeal before


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this Court and the district court merely “reiterate[d] the same arguments” as in their

preliminary-injunction papers, ECF 40 at 2, Appellants took weeks before seeking

that relief. And in that time, “the law already [went] into effect,” id. at 2, which

means that their “purported harm … is a consequence of their own delay,” Messina

v. Coll. of N.J., 566 F. Supp. 3d 236, 249 (D.N.J. 2021). Since self-inflicted harm

“does not qualify as irreparable,” Caplan v. Fellheimer Eichen Braverman &

Kaskey, 68 F.3d 828, 839 (3d Cir. 1995), that provides still further reason to reject

Appellants’ demands on this emergency posture.

      The public’s interest also cuts strongly in favor of maintaining the status quo

and denying an emergency injunction while the appeal plays out. See Nken v. Holder,

556 U.S. 418, 435 (2009) (noting balance-of-harms and public-interest factors are

merged for government defendants). As a general matter, a State’s “inability to

enforce its duly enacted plans clearly inflicts irreparable harm on the State.” Abbott

v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018); see also Cameron v. EMW Women’s

Surgical Ctr., P.S.C., 142 S. Ct. 1002, 1011 (2022). And here, an injunction in this

case would be particularly troubling: it would undermine the powerful state interest

in protecting workers’ health and safety, including from economic exploitation. The

TWBR was meant to address documented abuses in the temporary worker industry,

including inequitable and depressed wages. See N.J. Stat. Ann. § 34:8D-1(c), (d).




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Enjoining the law would cause harm to these workers by nullifying these important

protections, and would have ramifications for them, their families, and the State.

      And the harms of an emergency injunction would be especially acute now, as

temporary workers have already begun relying on the TWBR’s express protections.

A sudden injunction would wreak havoc on their lives by suddenly pulling away the

protections that workers are already expecting and enjoying, including protections

against the receipt of lower wages for completing substantially similar work as their

permanent colleagues. It would put temporary workers in a state of uncertainty after

community members and advocates spent considerable time and effort doing

outreach on the TWBR’s protections—especially if that injunction is later vacated

by a merits panel. See, e.g., Brenda Flanagan, NJ’s temp workers bill takes effect this

week, N.J. Spotlight News (Aug. 7, 2023), https://tinyurl.com/3wu3jtcb (describing

efforts “to inform temps of their rights under the new law”). The equities and public

interest confirm this Court should preserve the status quo.

                                  CONCLUSION

      This Court should deny the injunction pending appeal.


                                         Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

   Pursuant to Fed. R. App. P. 27(d) and L.A.R. 31.1(c), I certify that:

      1.      This brief complies with the type-volume limitations of Fed. R. App. P.

27(d)(2)(A) because the brief contains 5,192 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(a)(7)(B)(iii), and thus does not exceed the 5,200-

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      2.      This brief complies with the typeface requirements of Fed. R. App. P.

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Dated: September 11, 2023                /s/Nathaniel Levy
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                 CERTIFICATION OF BAR MEMBERSHIP

      I certify that that I am a member in good standing of the bar of the United

States Court of Appeals for the Third Circuit.



Dated: September 11, 2023               /s/Nathaniel Levy
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      I hereby certify that on September 11, 2023, I electronically filed the

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